                       Case 4:17-cr-00312-DPM                                    Document 492                  Filed 09/20/18                    Page 1 of 8
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                                                                                                                                                          FILED
                                                                                                                                                       U.S. DISTRICT COURT
                                                                                                                                                   EASTERN DISTRICT ARKANSAS
                       Sheet I

                                                                                                                                                        SEP 2 0 2018
                                          UNITED STATES DISTRICT C.OU&AMES w. Mc                                                                                                 LERK
                                                                            Eastern District of Arkansas                                   By: ------t-f--t-t-----=i'=t'".':c~LE::,R::,K~

                UNITED STATES OF AMERICA                                                            JUDGMENT IN A CRIMINAL CASE
                                   v.
                       Randolph Luis Aviles                                                         Case Number: 4:17-cr-312-DPM-13
                          a/k/a Randy
                                                                                                    USM Number: 31599-009
                                                                                                     J. Blake Byrd
                                                                                                    Defendant"s Attorney
THE DEFENDANT:
!iZiplcaded guilty to count(s)          6 of the Second Superseding Indictment

D pleaded nolo contcndcre to count(s)
   \.Vhich was accepted by the court.
D was found guilty on count(s)
   atter a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                                                       Offense Ended

                                             : ftio with Intent to Distribute Mettlamphetamine;Jt
                                              . -_ --,~ _:_ ----   ,.. '                    .          '); ... •:·,··.        ·:=-··,,'-


                 & (b)(1)(A)                   a Class A Felony                                                                              10/2/2017                       6



                                                                                                8
       The defondant is sentenced as provided in pages 2 through                         - - - - - of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been fr,und not guilty on count(s)
liZ1 Count(s)     1,4&10                                                   Dis     [ill' are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence.
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment arc fully paid. If ordered lo pay restirution.
the defendant must notify the cou11 and United States attorney of matc1ial cnanges in economic cin:urnstanccs.

                                                                                          9/18/2018
                                                                                         Date of Imposition of Judgment




                                                                                          D.P. Marshall Jr.                                         United States District Judge
                                                                                         Name an<l Title of Judge


                                                                                         ____;.,o . 0...~wt-/2u_J.t),~Vfi_ _ _ _ _ _ _ __
                                                                                         Date                            "'·,·""·
                       Case 4:17-cr-00312-DPM                  Document 492            Filed 09/20/18         Page 2 of 8
AO 24513 (Rev. 02/18) Judgment in Criminal Case
                      Sheet 2 -- Imprisonment

                                                                                                       Judgment    Page     2      of   8
DEFENDANT: Randolph Luis Aviles a/k/a Randy
CASE NUMBER: 4:17-cr-312-DPM-13

                                                               IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to he imprisoned for a total
 term of:

  168 months.




     li1 The court makes the fol lowing recommendations to the Bureall of Pfr;ons:
  1) that Aviles participate in a residential drug abuse program, or non-residential programs if he does not qualify for RDAP;
  2) that Aviles participate in educational and vocational programs during incarceration;
  3) that Aviles undergo a full medical evaluation to assess the treatment needed for his serious medical condition; and (cont'd)

     0      The dell'lldant is remanded to the custody of the United States Marshal.

     D      The defendant shall surrender to the United States Marshal for this district:

            D   at
                      ----------
                                                   D    a.m.     • p.m.       on

            D   as notified by the United States Marshal.

     D      The defondant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D   befrm.: 2 p.m. on

            D   as notified by the United States Marshal.

            D   as notified by the Probation or Pretrial Services Office.



                                                                    REl'URN

 I have executed this judgment as follows:




            Dcli.:ndant deliver..:d on                                                      to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                      with a certified copy of this judgment.



                                                                                                     UNlTED s·1 :\ I ES VIARSHAL



                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                      Case 4:17-cr-00312-DPM          Document 492     Filed 09/20/18       Page 3 of 8
AO 2458 (Rev. 02/ l 8) Judgment in a Criminal Case
                       Sheet 2A -·- Imprisonment
                                                                                       Judgment   Page   ....... 3,,,,..   of   ...........8 . . . . . .
DFFENDANT: Randolph Luis Aviles a/k/a Randy
CASE NUMBER: 4:17-cr-312-DPM-13

                                             ADDITIONAL IMPRISONMENT TER'.\1S
 4) designation to FMC Butner, FMC Lexington, or the available Federal Medical Center closest to New York to facilitate
 family visitation and ensure adequate care for Aviles's serious medical condition.
                          Case 4:17-cr-00312-DPM                Document 492             Filed 09/20/18         Page 4 of 8

AO 245B (Rev. 02/ 18)     Judgment in a Criminal Case
                          Sheet 3   Supervised Release
                                                                                                           Judgment   Page __4__ of
DEFENDANT: Randolph Luis Aviles a/k/a Randy
CASE NUMBER: 4:17-cr-312-DPM-13
                                                          SUPERVISED RELEASE

Upon release from imprisonment you will be on supervised release for a term of:
    5 years.




                                                         MANDATORY CONDITIONS

L      You must not commit another federal. slate or local crime.
       You must not unlawfully possess a controlled substance.
~
.).    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thercatter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check !fapplicablel
4.       D You must make restitution in accordance with 18 U.S.C. ~~ 3663 and 3663A or any other statute authorizing a sentence of
               restitution. 1ched 1fo1'f'ltcal>M
5.       ~ You must cooperate in the collection of DNA as directed by the probation offict:r. (check i/applic:ahieJ
6.       D You must comply with the requirements of the Sex Oftcnder Registration and Notification Act (34 lJ.S.C. ~ 2090 I, ct se<J.) as
               directed by the probation officer, the Bureau of Prisons. or any st~lle sex offender registration agency i11 the location where \ uu
               reside, work. are a student. or were convicted of a qualifying offense. (check ifapplicableJ
7.       D     You must participate in an approved program for dome~tic violence. /check if applicable!




 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 r~1gc.
                      Case 4:17-cr-00312-DPM                  Document 492             Filed 09/20/18            Page 5 of 8
 AO 2458 (Rev. 112il8) Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                  Judgment----Page              uf _ _ _---C..-_ __
DEFENDANT: Randolph Luis Aviles a/k/a Randy
CASE NUMBER: 4:17-cr-312-DPM-13

                                       STANDARD CONDITIONS OF SUPERVISION
As pmt of your supervised release, you must comply with the following standard conditions of supervision. These conditions arc imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimmn tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.      You must report to the probation office in the federal judicial disttict where you arc authorized to reside within 72 hours of your
        release from imprisonment, unless the probation officer instructs you to rep01t to a different probation office or within a different time
        frame .
..,     After initially reporting to the probation office, you will receive instructions from the comi or the probation officer about how and
        when you must report to the probation officer, and yon must report to the probation officer as instructed.
3.      You must not knowingly leave the federal judicial district where you arc authorized to reside without first getting permission from the
        court or the probation officer.
4.      You must answer truthfully the questions asked by your probation officer.
5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
        anangements (such as the people you live with), you must notify the probation officer at kast 10 days before the change. If notifying
        the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation oiliccr within 72
        hours of becoming aware of a change or expected change.
6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must pennit the probation offkcr to
        take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.      You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
        doing so. lfyou do not have full-time employment you must tty to find full-time employment, unless the probation officer excuses
        you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
        responsibilities), you must notify the probation officer at least IO days before the change. If notitying the probation officer at least I 0
        days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
        becoming aware of a change or expected change.
8.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
        convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
        probation officer.
9.      If you are an-ested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
l 0.    You must not own, possess, or have access to a firearm. ammunition, destructive device, or dangerous weapon (i.e., anything that was
        designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as mmchakus or tasers).
 l l.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
         first getting the permission of the comi.
 12.     If the probation officer detcnnines that you pose a risk to another person ( including an organization), the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
         person and confirm that you have notified the person about the risk.
 13.     You must follow the instructions of the probation officer related to the conditions of supervision.




  U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions spel'.ified by the court and has provided me with a written copy of this
 judgment containing these conditions. For further information regarding these conditions, see 01'en 1it:w of Prohation and Superl'iseJ
 Release Conditions. available at: \-vww.uscourts.gov.


 Defendant's Signature                                                                                        Date _ _ _ _ _ _ _ _ _ _ _ _ __
                     Case 4:17-cr-00312-DPM           Document 492        Filed 09/20/18       Page 6 of 8
 AO 245B(Rev. 02/l 8) Judgment in a Criminal Case
                      Sheet 30    Supervised Rdease
                                                                                          Judgment          6_ of
                                                                                                     Page _ _            8
DEFENDANT: Randolph Luis Aviles a/k/a Randy
CASE NUMBER: 4:17-cr-312-DPM-13

                                        SPECIAL CONDITIONS OF SUPER.VISION
 S 1) Aviles must participate, under the guidance and supervision of the probation officer, in a substance-abuse treatment
 program, which must include regular and random drug testing, and may include outpatient counseling, residential
 treatment, recovery meetings, or some combination of those options.
                         Case 4:17-cr-00312-DPM                        Document 492                  Filed 09/20/18       Page 7 of 8
i\O 2458 (Rev. 02il 8)   Judgment in a Criminal Case
                         Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment    Page      7                •··••·!:L
 DEFENDANT: Randolph Luis Aviles a/k/a Randy
 CASE NUMBER: 4:17-cr-312-DPM-13
                                                  CRIMINAL MONETARY PENAL TIES
      The defendant must pay the total criminal monetary penalties under th<: schcduk of payments on Sheet 6.


                       Assessment                      .IVTA Assessment*                      Fine                     Restitution
TOTALS               $ 100.00                      $                                      $                        $



 0    The determination of restitution is deferred until
                                                                 ----
                                                                                  . An Amended .Judgment i11 11 Criminal Ca11' /AO 245C) will be c11l\.'1·eJ
      after such determination.

 0    The defendant must make restitution (including community restitution) to the l'ollowing payees in th<: amount listed below.

      If the 9cfendant makes a partial payment, each payee shall receive an approximately p\opo1:ti~rncd pa.ymcnt, unless specified otherwise in
      the pnonty order or percentage payment colwnn below. However, pursuant to 18 l,.S.C. ~ _,664(1 L all nontederal v1ct1ms must be pa1J
      before the United States is paid.

 :\ame of Payee                                                                                        Restitution Ordered           Priorit, or Percenta:,:l·




 TOTALS                                 $                          0.00               $                        0.00
                                                                                          -----------

 0      Restitution amL\lll1t ordered pmsuant to pica agreement S

 0      The defondant must pay interest on restitution and a fine of more than S2,:'i00, unkss the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. ~ 3612(1). All oftbc payment options on Sheet 6 nrny be subject
        to penalties for delinquency and default, pursuant to 18 L.S.C. ~ 3(1 l 2(gJ.

 O      The court Jctcnnined that the defendant does not have the ability to pay interest and it is Prdcred that:

        0     the interest requirement is waived for the           0       fine    O restitution.
        0     the interest requirement for the         D    fine       •     restitution is modified as follows:

  * .Justice for Victims ofTraffickitH! Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount otlosses are required under Chapters I 09A, 110, 11 OA, and I 13A of Title 18 for offenses committed on or
 ;Iller September 13, 1994, but before April 23, 1996.
                      Case 4:17-cr-00312-DPM                 Document 492              Filed 09/20/18           Page 8 of 8
i\O 24~B (Rev fJ2i[8) Judgment 111 a Criminal Case
                      Sheet 6    Schedule of Payments

                                                                                                          .Judgment   Page   --'8~_ of        8
                                                                                                                                          -------~~
DEFENDANT: Randolph Luis Aviles a/k/a Randy
CASE NUMBER: 4:17-cr-312-DPM-13

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ~      Lump sum payment ofS _1_0_0_.0_0____            due immediately, balance due

             O      not later than                                . or
             liZ!   in accordance with O C,         O D,     O     E,or      liZ! F below; or

B     0      Payment to begin immediately (may be combined with           DC          0 D, or      0 F below); or

C     O      Payment in equal      _ _ _ _ _ (e.g., 1Fcekfr. month fr. ,1uane1·/i) installments of S _ _ _ _ _ _ _ over a period of
                           /e.g. months or years), to commence   _ _ _ _ _ /e.g.. 30 of' 60 days! after the daie of this judgment; or

D     O      Payment in equal       _ _ _ _ _ (e.g., weeklv. monthlr, ,1u11/'terh) installmenb of S _ _ _ _ _ _ _ over a period of
                           (e.g .. months or year.,·), to commence _ _ _ _ _ /e.g .. 30 of' 60 days! after release from imprisonment to a
             term of supervision; or

E     O      Payment during the tem1 of supervised release will commence within _ _ _ _ _ reg .. 30 or Ml doys) after release from
             imprisonment. The court \viii set the payment phm based on an assessment of the defendant's ability to ray at that time: or

F     fill   Special instructions regarding the payment of criminal monetary penalties:

              If Aviles can't pay the special assessment immediately, then during incarceration he must pay 50 percent per
              month of all funds available to him. After release, he must pay 10 percent of his gross monthly income. Aviles
              must make payments until the assessment is paid in full.



Unless the court has ex.presslv ordered otherwise, if this judgment imposes imprisonment. payment of criminal monetary penalties is due during
the period of imprisonment.· All criminal monetary penalties, except those pay111ents ma<le through the Federal Bureau of Prisons· In1rnte
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0     Joint and Several

      Defendant and Co-Defendant \:ames and Case !\umbers (i11c/11di11g cl<"/e11da1111111111/Ju), Total /\mount. Joint and Several Amount,
      and corresponding payee, if appropriate.




0     The defendant shall pay the cost of prosecution.

0     The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the fr1llowing property to the United States:



Payments shall be applied in the following order: (1) assessment, (:!) restitution principal. (3 l restitution interest, ( 4) fine principaL ( 5) fine
interest ( 6) community restitution, (7 J JVTA assessment, (8) penalties. and ( 9) costs, including cost nf prosecution and court costs.
